.--_--G&Se-¢|-:-%§-ev-GSW-?-~Document 1-1 Filed in TXSD on 12/28/15 Page 1 of 55

Claim No. O¢/O&/i 0%70/0 l 30 DATE §"/'“9@/$

HIPAA COMPLIANT AUTHORIZATION

List below the names and addresses of all persons (Doctors, Dentists, l-lospitals, Nurses, Funeral Directors, etc.) who rendered, or who
are rendering services in connection with injuries sustained in this accident

H,A§';‘;MY/E_§:E 1453 /;MQ€ Ma/, [}’)W<G@e»s/ouvv) 7212 357/aj
434 /fmow)as tiS@am<tz~/ /700 Wvd/m/M@~%M
' inn ,f<e<@,éw 7/!/ 37 /¢9§ j

lZ

 

 

 

To Whom lt May Concern:

For purposes of evaluating_a claim made by me, or on my behalf, and/or_ for preparin for, conducting, and/or

articipatin in an mediation, arbitration, hearin , trial, or other proceeding associate with my claim, you are
liereby aut orize to furnish to Government mployees Insurance Company, GEICO General Insurance
Company, GEICO Indemnity Compan(g', GEICO Casualty Company, or any of its representatives §individually
and collectively referred to as “ E C ”) any and all medical information which may be re ueste concernin
m physical and/or mental condition a_nd treatment excluding “psychotherapy notes” as eflned in 45 CF
lo>;t.SOl) to include, diagnosis, prognosis, and any an all records, f'i es, or other documentation concerning the
t§!eatmenta prescriptiori, consultation or other advisory visits or events (coIlectively referred to as the “Records”)
t at pertain to:

¢ "Ti/ut/lu Sol\/~J\r€/ ,

[PA TIENT.- PRINT Yo pie NAME ABo VE/

. i)oB: Q//(@"/G/ 63 ,

/PA TIENT: WRITE YoUR ark TI§r DA TE ABo VE/

. ssN; LF/D'/d/`;/_§§?q}

[PA TIENT.' WRITE 'YOUR SECL¢{L SECURITY NUMBER ABOVE]

» Tlie Records _shall s ecifically include, but shall no_t be limited to, such condition and treatment
as ma]yljiertain to t e automobile accident/loss/claim of PATIENT: INDICATE THE DATE
0F EZA UT?M‘£ILE ACCIDENT S/CLAI IN THE FOLLOWING SPACE]
t "' , 20 .
_v '
The information covered by this HIPAA C_ompliant Authorization includes, but is not limited to, repoits,
records, test results,_ X-rays, _and. any other diagnostic testing, whether in your possession or available to you. I
understand that the information in t e Records may include information relating to sexuall transmitted disease,
Acquired Immunodeficiencg' Syndrome (AII_)S), Human lmmuiiodeficiency Virus (HIV) an other communicable
diseases, behavioral healt care/psychiatric care (excludi&if “psychotherapy notes” as defined in 45 CFR
164.501), and treatment for alcohol and/or drug abuse, an or substance abuse. Copies of this Authorization
shall be considered as valid as the original. This information is being requested for the purpose of evaluating a
claim made by me, or_on my behalf, and/or for preparing for, conducting, and/or aiticipatin in any mediation,
arbitration, hearing, trial, or other proceeding associated with my claim. This Aut orization s all be valid for
the duration of the claim. _This is not a release of claims for_dar_nages. l further understand that I am entitled to
. a co y of this Authorizatlon and' acknowledge receipt by mining below. l acknowled e that the information
disc osed pursuant to this Authorization ma e re-disclosed y EICO_ pursuant to a icable law and may no
longer be protected by the Health Insurance ortability and Accouritability Act (HIPAX§.

C-256(l0-13)NS

 

I also authorize

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 2 ofzzc) /5
Claim No. DATE 5

 

GEICO to further re-disclose the records received pursuant to this authorization, including, but not limited to,
information relating to Sexually transmitted disease, Acquired Immunodeficiency Syndrome (AIDS), Human
Immunodeficiency Virus (HIV) and other communicable diseases, behavioral health care/psychiatric care
(excludin “psychotherapy notes” as defined in 45 CFR 164.501), and treatment for alcohol and/or drug abuse,
and/or su§ tance abuse, as may be necessary for the purpose of evaluatin a claim made by me, or on my
behalf, and/or for preparing for, conducting, and/or articipating in any mediation, arbitration, hearing, trial, or
other proceeding associated with my claim. This lPAA Compliant Authorization shall also allow GEICO’s
representatives, agents, consultants, or health care professionals, or any physicians appointed by it, to examine
the records produced concerning said condition or treatment

Revocation Section: l acknowledge that I have the right to revoke this Authorization at any time. A revocation
of this Authorization must be in writing and sent via regular U.S. mail, postage prepaid, to the Company
Representative who requested this authorization and to the medical provider. The revocation of this Authorization
Will be effective upon receipt and Will be prospective only.

l acknowledge that I arn.aware that th_e consequences of _rnv not Signing this Authorization can include a delay
in the processin /resolution of the claim, a potential denial of the claim, or other consequences recognized by

a ' able state aw nd/or the insurance policy We.
M 601/d dow (mdt/ §atw</Y€/\/

[sIGNATU oF}>ATIENB ~ [PRINT N.;lME oF PATIENiq}
t " ” Q" /\§

 

[I)ATE]

Personal Representative’s Section: A personal representative executing this form on behalf of the patient
warrants that he or she has authority to sign this form on the basis of:

 

 

(SIGNATURE: PERSONAL REPRESENTATIVE) (PRINT NAME OF PERSONAL REPRESENTATIVE)

 

(DATE)

C-ZS() (lO-lS) NS

',______-_v

Case 4115-aetrrasiaaraniiayri§inmaaei eastman 3 Of 55

ATTENDING PHYSICIAN’S REPORT

 

Claim No.

Date§/ !/9-0 (`S’l_ Our Po|icyholder aim M `Q:z?t€`:f/AS<EM 0 6 UL/ U®XOZ/3`7O 7 D/ 50

To assist us in determining what may Jbe due the Applicant, the Atteiiding Pliysician should complete this report and return it
directly to:

 

 

 

 

 

 

GOVERNMENT EMPLOYEES lNSURANCE COMPANIES

CLAIMS DEPARTMENT

ONE GEICO CENTER

MACON, GA 31296 7 B/

l. Patient’:sNameandAddress Tradq :MWW Q_L/Qé §q\§»f M/W &l£/;z 020 fry Ya
. Age: 64 I3 Sex: F` l 4. Occupation: ,¢Q(CUU,/f<r/ /)c\C/t,/la* 37/9/"7

History of occurrence, as described by Patient:

 

 

!\)

 

KJ\

 

.O`

Diagnosis and Concurrent Conditioiis:

 

7. Date symptoms first appeared: 8. Date when Patient first consult you for this condition:
3 131/901 S 3~&»</~;0/

9. Has Patient ever had same or similar condition? l:\ YES E/l'\lO If yes, state when and describe:

 

 

 

lO. Is condition solely a result of this accident? i:Q/YES l:i NO If no, explain:

 

l l. ls condition due to injury or sickness arising out of Patient’s employinent? MS i:l NO if yes, explain:

 

/

lZ. Wil| injury result in permanent disfigurement or disability? [:] YES EirNO Ifyes, describe:
/

l3. Was Patient hospitalized as a result of this injury? I:i YES UNO If yes, where:

 

 

/
14_ Wag Patient unable to Work? E/YES [:] N() 15. If still disabled, date Patient should be able to return
ifyes, FRoM:@’/ 3‘ L§ THRoUGH;J§'//"JOIS to work@$` SOa’r) 65 6qu air rel/now

16. Rep<>rtofservicesr idaho urth iCat/» rim wornint>té no lehrman/et inc/May ~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date of Service Place of Service Description of Surgical or d Charges€a n M'Ql
45 Medical Service
H~' `) 'QO $ m C/.LY 1
33~9¢¢-9<) is $
$
TOTAL CHARGES TO DATE $
l7. ls this Patient ill under your care for this condition? Estimated Future Charges: $
§ YES No /
18. is any parr of your bill covered by MEDICARE er MEDICAID? E YES E/No
Date Physician’s Naine (print) Physician’s Signature IRS/TIN Identii'ication No.
Nuinber Street City or Town State Zip Code

C~257 RR (04-09) NS

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 4 of 55

GOVERNMENT EMPLOYEES INSURANCE COMPANIES
STATEMENT OF CLAIM UNDER MEDICAL PAYMENTS COVERAGE

HOV'\MF€£ C/(`€{JA'£ ClaimNo.: ©4038 Oélj5‘7O/O/SC

 

 

 

 

 

 

 

Company;
Date and Tiine of Accident: 3 /¢9 c:';~O )5
Q~Cl
Policyholder's Name: ‘/(/Ld/K/\\_§ aw(/:€/l/ Pohcy NO l’/ -7 55 é 7 67 7
Naine oflnjured Party: /V`(/( d (j Sd\ (/\)C/\ €/\r` Date of Biith é /G "/ q é 6

Address: 3\€'/3\(@ zwd" {i&¢ (/i “§;;%d/:< /¢.l City: did v§[ggé@drc§tateA;/U Zip: § ’27/3'7
SocialSecurityNo.: / /0/ q /75) -Mail)§g;g%§n/)Occupation Odm C/W

Employei' s Naine and Addiess: `L/>)L/<;é § /Vid (/') g k leg aj ga hOO,C,CJ C,(_J&%
Persoii Injured Was: (Check One) m Pedestriari/MWM k[§/Occiipant oR/ehicle /

[:] Occupant of a vehicle other than the policyholder’s

 

IF A PEDESTRIAN: State relationship of injured person to policyholder: /

Seat Belts lnstalled? I:i)(es l:] No / ln Use? E(Yes \:] No
iF OCCUPAN`!' OI<` A VEHICLE O"l"HER 'i"HAN POLlCYl-IOLDER’S: State fully the reason why the injured person was iii the veliicle. Please

provide the name and address of the owner of the vehicle, the name and address of the owner’s insurance company and the owner’s policy/file

number:

 

 

Describefullytheextentofinjuiiessustained: BU@(Q C/}U:i” ///M'Z) /}'l(A AH,CZ]L whl/€ va M}/J 61(/"
C\ AO\!€~§ /rriC/< 5<(‘@)0 ',i(/i/ Ua(r?/`//€ /Oclé /Lh¢»l;, ~L/f/ lifo/q éz/<
Cer}@ns<l tZg¥.n <4 ‘”Ué»qo/wf{) st én/ma camden/ann fm )')C¢lficwi%n=i§

Have yodi nade a Ce/ciaim, agrem('{\io a sett|eiiientr`€gne<dra re`ljease or obtained %dgmentca against any{1 e I/Wo may be alegtgly" liable m{oi thefd
damages fioin such injuries? z ii (If yes, please furnish full details below and on the reverse side if necessary )

Are any of the expenses claimed herein covere
Medicaid), or any other insurance policy?

  

' o 2 - ross oi any other Group plan, Government policy or plan (e. g. Medicare or
give details and advise below if you have collected r are making claim for any of
these ex enses. M
H/,”()@ /0 VC {Odt,<<)
Signat\ll'€ W.:}:; MW Date 5_/~ M$`C;< ;
lmportant - To be eligible for benefits:
l. Complete and sign this applicatioii.

2. Sign the attached authorization
3. Returii promptly with any medical bills you have received to date.

C-34 (03-\ i) Ns

 

Case'4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 5 of 55

      

, liliA.A. A\.;.£. ,v ,vv
1 ward vi
383 §§
n m§.:m_=&
mre:m “=E

tit f_e§r..&

,M m:m§m §

,,/ £\m:m _E

n §§ E

,. @:mr@ ,E

farm E

….… m_.\n fm .E

._… m mim§n .:m

     

 

§§Z\€B::o§ doe.u:no:

iat£.!§»§§q£.= m armco _E rs

   

            

mm m 2wa .~mw

411

m mE § t==w a

m acted .§m

‘*}o

@ farm _OE mo

m 2§ §§

 

 

,Em___s> 2 Em>.ro» § ,_,

_…sws=m az w

Nw§m `€Bh s

,Har,/L_O~>..>mm. >US:.
ew\?mm .S_E,t_mm` ..

.v~

    

w
..`,,»

.v

\_€.:_":.

a

~Uo§mo§ _.……

@?%Y:m aw<_><m,\ea»\ ,

woz<m:mz" comm ms a§mm. >EE

co>>>mm >uE.r. , H.»om,cE_omm@§.mc:__Q==m=ou _

auzsmm swth

“ ,

,, … t_,@\ 1=.a,o 8~&©5.€.>&

N, Emu dug@zw.…o>>m»

, 4 , . a H_ §8.8,&.©=..».§>&

,.,H,“..¢..,

swan …¢m§,,_m

_ ,_ _ , , _ tav$@m.,_,>o§

 

 

>om Q_E .om.m©.a_wz ..o.,§m¢oo ,

._ _ §§omm@a_ocd§m:oo

… _… ,. ,, m >om_oi.om~m@a.o,n`_¢.£=:m:ou ,.

_ mm>>><m ~€EP., . …_.…....,.. ,,%m,.o&,omm@a_oc¢o&:w:oo

…a§,w.a >o:E…, Mt.v>o@,e€_ema©m_v¢,a§:mcou

_ aa?_mm>o:a»,
f .;€_E

, _, , >omQ=omm@a.chE:mcoo

, . t _ Eoooocw>©:=mcm§m

F“°ll‘l

m

..."

r

v"”\

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 6 of 55

 

2 n ow v vv
m:~§.§.w

335 _co_.,._

\… m§.§..m=.~
323 2a
mri:_.,m§
m:m:¢ .8>>
m!m$.om>>

».4 m:m§.,ww>,

mcm§ do>>

m m:m§_uw>>

965 55

§§ H m §@§_`:E
m mixing

m mr`wr€.~mm

m @:m:v~§w

w mfm§~_=:m

.. 935 .==w

m
w 235 .§w

3

Uu=_Eom EQEE°&< 302 wm

 

262 v S§S ¢S._ `.@»,>mm 525
§§ng oz w

~ _U¢s:m ozw

 

ou_m=o_m§mu©wu_>_mw_m&£§u

 

 

ES 8~&©=@.0;&

 

 

§§

 

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 7 of 55

W Q:S.m § `… j f ,.

  

 

 

       

§§ _Sz ~,4 w§mm 535 lu§ 58 8§©&§
w Ea@.@_¢ _oocum ES oocm>©==§o§
m mcm$,oo>> mucm§m£ou_m© m>dbsmm >EE. >om.oE\omm©a_vc,BE:m:ou
11 m_.`.OCw_uO>> -….... g f
w §§ ,=E m .§s~m §§ SQEBRSQSB , _EB.BI@©~§§N
z §§ sE. go>smm >oE.~ Eoo.ou_om©=o..>x§m
,.,W @:§m_= 5 , \
,. 5 - basmm >EE ES.B.Q@©_§QQE@
m @::@.35 w _
.@Smm >Q:E ES.S.Q@©=@ES.§~
m m::@.=E m
mw>>><m >uE.r Eow.oo_om©=§mzm
m @::a_=E § lyl \ .
§§§§§Q$
§z=.»?€__._§m§¢£. w @::B.=E § ~ a .. >\Smm
555 Um. =moz~ Eoo.o m cc m
Hwo£§§uwm@ … m Q:N:w.E § oz >© me
SE>..E..___ . HU@._n=moz_ . @ES, >©E
~§”S§§>_L m £`~E..E . , , , o.o:m. . gin
§.,Sc!o.w ._ ,. .\ .,

  

§§§::,.;:§_.H _/. ,

 

 

H§§a§_ m fa$`sm 5 .

unl=hw,_e%$tasr. ‘r

mus=is..m.@!s!.¢_. M M` w.=n:w.iw ` _ , ,. w ., , ;

, l m$":w.aw _\ . §§ _ 5
l mrv,:w.§m , . , , . cow_=uon_ =on=_om § Eoo." t nw

 

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 8 of 55

     

  

  

mr~.~m.€ ,w=k
_, mr~w§ m:‘_,

§ m_:_,~NQ vnb

                                

m?`~‘w\»_. dow
m:ww? UO>>

?,~§. 35
233 :E
v 933 :E
n @§~>. §m
,» §§ §w
233 QE
¢,
» m:@§~ 03
3 233 QE
m 933 05
m 253 _B>>
m 253 _B>>

m §§ ,S>>

m _..\ v N;\. m:.»

  

¢"~‘.h

“€w>

‘H,

 

 

5 §_SENE mad §§ § § 8a

 

_§.§w oz _
g §§ oz _
va_n=m oz _

 

5§.§. §§ QS.SB§.SSS of

§
.>>n_
.>>n.
§
_ 333 oz _
rums=m oz _

B>.smm ..€_E.

§§ng oz d

koesmw >UE\_.

kw>§mm >U:.F

 

 

w §…,w…

  

oE wo§_»...:mc.@o§oumm camco
oE B¢S:QE@BQS~Q c=w:u
oE B=m_zw§©o§oumm §ch
oE wu=m_:m:.©.o.m,oomm :_U:U
08 mu:m.§mc.©o§oomm §ch
o oE oucm§w§©o~m.ovmo csch
m oE B:S:w:_©o~m“oomo 565
m oE wucE=mE©o~m_oomn :=wcu

m CE §Nh=mc_©OE_OUmD Czwtu

 

m oE §E:m¢_©o~m_oomn§wcu

m oE S=E:m_.__©o§ovmn 535

   

=.B>

  
         

. 7 5 .rumm,.wu . wm\m wmw .. n
»:::».;::_.'::v;.

 

,r_..~:::+:;;:;v

mE~@ am , x
§ R_\@ nw _ il
. ;;;::Fi~

.,.M.,_r.;:r_v.

 

 

mrme rim 1 m )a v U.;.:.»:)_-
, ` .4 ,“ . . ,. .H¢.F...…
s,§_§_,._gww m§§.€,€@~@wz I,,_..,.mw §§ how o% o m@. § v

“MY

303 §§
353 §§ ou_w@ Q@.._@…_£@RW __@.,..,..mm §§

.,.@@ oE omm@n~m¢ IEM$SU.

m§~@ 52
>o@ 05 @mm..®a_@c EESQ.H@

H,¢_H.,».,,& § 350 Q@..S,@@-m§Nmfm._,¢.>mm §§

, m fnme amf

m rm m.© co§

.:, mr.mwm coE

 

 

 

» 283 wzo 5 285 wi 5 §§ 53 mr §§ O>Qam ._=2,> B> B§m
285 31 35 aes 2..2.» §E.Sm w ~>H=n£o£o£oa
r®zua@z, ) 590 m£ocmummc» ….` > \\M=WIU… =,

 

§§

§ 8§> ¥@o.zw¢ vi 8 §§
vm©»

, §§ §§ §

 

03737 Document 1-1 Filed in TXSD on 12/28/15 Page 9 of 55

b >,. .l, : f ll

__.m§ c..:mmm m

CV-

 

 

 

:._..» m Ou M.AU¥ U~_.._ ._Ow »U;C& }.., ...
m ovm_...oI- -
x._, m3 c_ .u_rmmu m bram 552 03 reno _»:>> nw b 55 n :,: .. §

Case 4:15

 

 

           

mwimw\,©_.\m. v,~..,_.mj , . : , , .` _\.;…....mmwh_.,~mc§ 1 dc `_¢ .w,..._lql¢ 1 .: 1 z _.r .… .,...\ `.

 

  

 

v mr@:m_._¢ , _ ~Uo.§mwz~ _. \ . , `_
. . , . v w . . M*.. .
m hcfa .E ‘ 35§_3@ mm>`,><m %Eb , >@€£.om~@%=,.§=m¢ou E
m m:m§ § moz<aamz~oo_m@ m,>$§am €.E. 4 >&..oa &m@§wm...w€nm¢ou M;
x m:mtm .E .z. » . .\_w.§,>mm >UPF . ,, >om.,.oE,omm@uU¢.UE:w:ou U
\_` mr@rn __t wo.¢>mm whth _ v _ >omoi o,mm©a._,or wv»c:w=ou m
. M.\,&B:m..mm . , _ , , , . _ , _ ,
51 §§ naive-magnum \ KW§<M,§._.. . _ >O@§ Q.m.,N©Q_O£ ._OE,BWECU g
B§ves§§..?>§s=§ .,,. m§tm"c:m _ ~ . 1 1 . . , . .1 .
§§ <§=n£~o§wu \ ¢m>>»mm ,>_ODN:. _ , . , ,, $Om O_.t ODN©BO£..._OEDMEOU , j
w§§~§m d ., , m _
x . ~m§>ww >Q:.a._.i , .. , Eou.oo$m©cm~ozm, U
_ .. ES.Z___ m:m:@,.mi , _ _ , 1 1 , :;.,
, u§£a§oe ` /, _ ; _ _ ., . . , ,
ans&o§»hu_$ti%%_ `_ ,,( mcew% _B .w%,»mm iii . >omor,:. omm@n_oc um£:mcou m
\ .r\ >> . .. §a~\ , .: _ _, .._ _ _, _.,.,_»
, _… _ . _ “Eouloo:m> ccm`m 1
v &B~B.B>> P)w . ; … _ …©. __c .S._mm r

M, oxwa _,F.`

      

 
 

[....'

      

» .,~ W_.\V .C: 3 wl
CESS .. ~B m § r
nw:b mmcv,mc 33 .,W w .

. 5 v va\m ca ;.`
~EmnoESa m w
1 m 2an ,QE h v
. w YES _QE @

m 253 §

§f§ o§~>§__<§§o§s$m§$§» z n \ ._ »_ _ m
\ WM>(~J\.~ . , , f ` , \ V ~ N$._o>ww>m::o>m§§m f ..,_ , .,V,.d,,,_..»_q',V…', w
.. \ §oh`§..»_a.alll!:!...{,,. z . 1 gsn.x¢.ru ,`

 

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 10 of 55

 

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 11 of 55

 

AAAm~vvv

1 Y§. .¢E . §§Q§$§O§§.z E§o%>amw §§ ma

1 m E:~§ 12: _ 1 , 11 1 1.1 v>§mw€;t 305§983.% 13
11 mc_~§.o:.h 111 _ 1 . , _ . 1 ,mm>§<m >QJE ,?u.
.…3. mt_m§ .m_.€ . q 1. _ _ tw§w._ E.m==>> 2 Emz:ow ,>_QQ u._~mEo§< di
_1 ,m§§ _QE 1 , ..su_
1; wt»w\w dow ._0>>>mw §§ ?u_
…11 m§m\v 05 umwach Em____>> 2 Emzcom ai
.11. m:§tm£

._w>>.,mw >UE._. omc vovowmwowmovo b_..f
113 mr`_,w\v 103

>>L

3 £=~Q.@E §

m mc§. .OE §

m $>N>..QE §

m £§_ 11

1 ow>> .w TumE:m oz~
m 2a3 18

§ w :8._%@ oz_

m w:m~>~.=§ .w>_smw>§:

P

w €§.=E w ,

_ roos=w oz~
m $§.§w

5 `.. 51~.? ...l}

.

11 .cE mucm§mc.@o§oomm.czwrv ,

.. . ,, ca wu=@mw=,.©o§o¥m§w=o

1oE .ro.m§m§@o~m_oomm.§mco

o,E muc@sm£@o~m_ovmm rmwco ..

oEBESWE©§BS®==%.Q ,
oE mucm.§mc_©£&oomm§mco .

C_E chm._:mc_©O~m_.OUNm .E_~w.to

oE wucm§m§@o~m_oumm¢zmco

oE wunm§w§@o.m_oomm.§muo
oE muc@:m£©,o§owmm§w:o
oE mucm§m=.©m~m_oomm.:zmco
oE oo=m§wc.©o.,m,oumm:=w=o
m oE wer=w=,~@Sm._oomn, camco
m.§,wu:m§w§©o§oom@.§wcu

®oE.wo:E=w§©oEo…omn§mE

m oE,mo=E:mE©o§ocS.c=,mE

 

 

;11::

" ~11 m
EEDUEDEUUUEUEE

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 12 of 55

             

1 :u@a=m 023 1 11 5818§©&§§ 33
133 w§;.~mw

       
  

1 §3..3.13$ 1 _Uwa=m 023 EB 83¢@@¢.1.6§. 33
333&.1"§333. 133 1 n U£Q:m oz 3 Eou ogvm©cm§s& .H
§§ am a 1 . 1 3m13.3§w 1§3;853§§§3 §§ ES.SE@@E.¢§. 3.11.
1 11111 1. ?§1§¢1 _ 1 f 1……
11 1 ,1.1 mr§. 03 1 1 BEBEEQOOEO mm 3
§§ B>>
m_.33.m13v1om?.,
23313.18>33
313 2331§

mm.§o mode soo QSQE©.~,.YS
11……1 253 11=..3

   

 

 

 

3 255 E _ -
333cm Em____>> 8 EQ.EE Eoo.oewm©c£oz&
1113 253 E 1.
:owB=w oz 3 ES_ST@©E..B§.
m 323 11=..3 1131
EQOB:Q 023 Eou.ou,om©zw_o>>m.
.!oz o£=o&n: 23 amco m.>oo,£ 1 cW_a.u»un! 11
AA A wm v vv 1 11 _ 1 . _
3 >_an< __b BEO mcgowme 71 wang 311=3¢. §
5 2 5~1§@ § > n:?Jf

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 13 of 55

   

1 010»§1=£

310 0:311§

            

1111130\,§0 1620 000§0~§0§:1§

11 11 1111~00101.30102~

13

.1¢&`€>4301 >110300. 1 1

 

 

 

E&oo:m>@::mco§

1 1500100~00@58¥& 1 11111131,1 1

15
1 1 1 151
1 11 1111 111111€0000,0@@00630. 1 111 115

 

 

 

  

1111 133 000 1
11 f 3 ._01>>.1_00 1653 111111111111
0§§~0 1 01000_550101120…. 11 1 11E0000.00©cw_0;0_
0:1“13:00 1 1 11 1 1 1 11
11 11 1 . 11 m~1
1 0100£100®021~_ E1010 00111_1010@510003 1 115 1
111 0§10.13~0 1 1 1 11 1 1 1;1; 11 1 _1 5
111 13001030201 11 1 ; 1 588_00©;0.0;0
0:§.1300 1 11 111 11 1
11 1 :005$ 020H1 1 1150000_00©¢0§>& 11 5
111113 0513..1000 1 1 1 1 11111 1 1 1
1 1 1 1510101 00_00©00_030_ 5
3011 100§1§ 000…0501020
111»,11 0510. 1000 11 ~U&Q:m ozw; 1 8001003300©50_0§_1 1 5
….13 0:§11300 1113 3000036 020 1E00 00_00©=0.0>>0_ 5
1111 01131§5.~00 1110 SQQE:U 020 5000.000110@20100§0~ 1111 15
0 0§31133 00 301§§ 535 3220§000$0.10§ 1 5818305©=0_30;0 1311 5
my 0:0301§0 wm 1 1 5
§ 100 1 1 11 1 11 11 I11 t
c 335 0 110 5000 E3m_000m@1wm 583001.00©§ 1000 00 5
m 0§..100>> 1 1 1 1 1 1 11 11 1 1
1110 1 2 130 1113 321.¥§ 11m ..1§5¢1-§-00 333 .3._.,1330 m 1090 31312“:~1>>10.150 125 nw 1 ~31,113310131&1~1§ 310 1 511 mm 1151
1 1 1 31 1 1 1113 1101 1 11 1 1 03

 

 

 

201.)_34103.1 »..)i ll1 3111 . 1

  

Fw; Automatice r
CaSe 4: 1

Conta cls

max (24“1)
owns (75)
Sent

Spam (567)

Trash

lly Fo|d¢rs

    

Sj - named

Toxls Relnance Rales T¢ke
Huqe Dip- 2.97% APR

https ://us-mg$ .mail .yahoo. com/neo/b/message?sMi d=47 1 &fld=Sent&sort=date&order=d. ..

cgl

Notepad

w ¥a|\oo Se...

y: Forward to William Lehnert- Sen_t- Yahoo
C\/- -03737 Document1-1 Filed in TXSD0 on 12/28/15 Page 14 of 55

ail

Page l of 1

:lTrudy Accountlnfo v [:] Sign Out Home

Calendar

Actlons v Apply

Mesothelloma Lawsult - Wha...
Sponsored Everythlng you have ever

Fw: Automatic reply: Forward
to William Lehnert

From: "Trudy Sawyer" <sawyenann@yahoo.com>

To: Cristin. Bado|ato@insurance. mo,gov

--- On Fri, 4/10/15, chish, Jason <JSwoish@g§ico.com> wrote:

> From: Swoish, Jason <JSwolsh@geico.oom>

> Subject: Automatic reply: Folward to Wl||iam Lehnert

> `l'o: "samenann@yahoo.com" <sa enann ahoo.com>
> Date: Fn'day, April 10, 2015, 1:52 AM

> #yiv7776997322

> #ylv7776997322 ~

>

> _f\ltered #yiv7776997322 {Yont-famlly:Calibri;panose~1:2 15
> 5 2 2 2 4 3 2 4;)

> _flltered #yiv7776997322 {font-family:Tahoma;panose-1:2 11
> 6 4 3 5 4 4 2 4;)

> #yiv7776997322

> #yiv7776997322 p.yiv7778997322MsoNormal, #yiv7776997322
> ll.yiv7776997322MsoNorma|, #y`rv7776997322

> dlv.yiv7776997322MsoNormal

> (margin:Oin;margin-bottnm:.0001pt;font-size:11.0pt;)

> #ylv7776997322 a:|ink, #yiv7776997322

> span¢ylv7776997322MsoHyperlink

> {color:blue;text~decoration:underllne;)

> #yiv7776997322 a:visited, #yiv7776997322

> span.yiv7776997322Ms0Hyper|inkFollowed

> (color:purp|e;text-decoratlon:underllne;}

> #ylv7776997322 span.ylv7776997322EmallStyle17

>

> #yiv7776997322 .yiv7776997322Ms00hpDefau|t

>

> _tiltered #ylv7776997322 {margln:1.0in 1.0in 1.0in 1.0in;}
> #yiv7776997322 div.ylv7776997322W0rdSection1

>

> #yiv7776997322

>

> l will be out of the Olfice during

> the week of April 6th, returning on April 131h. lt you need
> immediate assistance please contact Michael

> Hart (615) 714-3681.

>

> Thank youl

> Jason SNoish
> Nashvllle Fleld
> Supervisor

>

>

Actlons v App|y

12/24/2015

Re de€’a$€

Contacts

lnbox (24681)
Drafts (15)
Sent

Spam (561)

Trash

My Fold¢rs

Sponsored

 

g . D. !
Cher Fans `n Mouming

er/Claim Number 0403804370101030- _Sent- Yahoo
:1-5 -C\/- -03737 Document 1- 1

Filed in TXSD on o12/28/15 Page 15 of 5

P§elofl

:)Trudy Account|nfo v I:] Sign Out Home

Ca|endar
Actions v App\y
fe Yahoo Se... Mesothelioma Lawsuit ~ Wha...
` Sponsored Everything you have ever

Re: Trudy Sawyer/Claim Num
ber 0403804370101 030

From: "Trudy Sawyer" <sawyertann@yahoo.com>

To: Cn'stin. Bado|ato@insurance. mci gov

This is a copy of Jasons's emai|.

On Thu, 4/16/15. Trudy Sawyer <gmnanm¥a_hgg_._ggm> wrote:

Subject: Tnldy SawyerlClaim Number 0403804370101030

To: § weish@geico,com
Date: Thursdiayl Apri| 16, 2015, 4:44 PM

Attached is a copy of medical bills

owed to St Thomas and a $30.00 for Hope Clinic l paid out of
pocket Please send this w Mr. Lehnert, l don‘t have

his email address ln addition, more bills that were
accumulated from the extermination of car.

Actions v Apply

 

pAsswoRo-FREE
H vauoo iaA_il_.

Leam more

https://us-mg$.mail.yahoo.com/neo/b/message?sMid=474&f1d=Sent&sort=date&order=d...

   
 

12/24/2015

Fw; TRUDY SAWYER - Sent - Yahoo Mail

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 16 of 5

Ccntacts

|nbox (24681)
Drafts (75)
Sent

Spam (567)

Trash

My Folders

Sponsored

 

NPA 6700 Fllg!lim§
insane vay Sea\ Fiashlidlt
Selling Out Fastl

Pa§e l of 1

:Trudy Account|nfo v [:_l Sign Out Home

Calendar

Actions v Apply

w ¥ahoo Se... Mesothelioma Lawsuit - Wl\a...

Sponsored Everything you have ever
Fw'. TRUDY SAWYER
From: "Trudy Sawyer“ <sawyenann@yahoo.com>

To: Cristin. Bado|ato@insurance. mo. gov

-~ On Fri, 4I3l15, sawyenann@yahoo.com <samertann@yahoo.com> wrote:

> From: gamenann@yahoo.com < e ann aheo.com>
> Subject TRUDY SAWYER

> To: jswoish@ggicolgm jswoisl_l@geico.com

> Date: Friday, April3, 2015, 1129 PM

>

> This where the bugs bit me on my face. See the dark spot
> Ca|l me.

> Sent from my Boost Mobile Phone.

 

 

 

Actlons v App|y

https://us-mg$.mail.yahoo.corn/neo/b/message?sMid=472&f1d=Sent&sorr=date&order=d... 12/24/2015

ilease ftorward to William. - Sent - Yahoo Mail _ _ Pa e 1 of 1
Case 4:15-cV-03737 Document 1-1 Fl|ed m TXSD on 12/28/15 Page 17 015§

:jTrudy Account\nfo v f:\ Sign Out Home

Cor`.iacts Noter>ad Calendar

 

Actions v Apply ;`Cmces
|nbox (24680) AsMord U... Enm|| in onllne end Progra...
Sponsoned Eam your graduate degree

Drafts (15)

P|ease forward to \Mlliam.
Sent

From: "sawyertann@yahoo.com"<sawyertann@yahoo.com>
Spam (565) , _ _

1’0: }swolsh@geloo.com

Trash
My Folders

l paid Amen'care 150'00 for exterminaticn but the bugs bit me about hour on

red my way out oftown. Not in Missoun`. Here is my new address Foiward all mail

$p°“°° here. 4800 lamonte houston texas apartment 1820 zip 77092

Sent from my Boost Mobile Phone.

 

l§EA
Enjoy a delicious rradtion!

 

 

 

Actions v App|y

https://us-mg$ .mail .yahoo.com/neo/b/message?pSize=25&sMid=3 99&tid=Sent&mid=2~. .. 12/23/2015

RE: Trud Sa
Cyase

Contacts

Inbox (24600)
Drafts (15)
Sent

Sl>am (555)

Trash

My Foidcrs
»»‘""‘

:’- r¢‘-‘~Ii,§§§

M¢.!

12 Thlngs to Do Before You

Grlduata College

https://us-mg$.mail.yahoo.com/neo/b/message?pSize=25&s1vlid=395&f1d=Sent&mid=2_...

er - Sent - Yahoo Mail

:15-CV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 18 015

Notepad

Pa§e 1 of 1

[::Trudy Accounilnfo v [:] Sign Out Home

Calendar
Actions v App|y
AT&T Limit¢d Tim¢ - $100 R¢ward...
Sponsored High Speed lntemet 530/mo for

RE: Trudy Sawyer
From: “sawyertann@yahoo.com"<sawyertann@yahoo.com>

Ta: "Swoish Jason“<JSwoish@geico.com>

l will tell them to send itt sent it to you . l bagged everything can‘t \ocAte
receipt CANT FlND lT lN THE PHONE

Sent from my Boost Mobile Phone.

"Swoishl Jason" <JSwoish@g§ico.com> wrote:
Mrs. Sawyer
Please send me invoice for the Extermination

---Origina| Message----

From: smemnn@yahoo.com [mailto:samertann@yahoo.com]
Sent Thursdayl May 14, 2015 5:07 PM

To: S~oish, Jason

Subject; Trudy Sawyer

Sent from my Boost Mobi|e Phone.

This email/fax message is for the sole use of the intended
recipient(s) and may contain confidential and privileged infonnation.
Any unauthorized review, use, disclosure or distribution of this
emaillfax is prohibited |f you are not the intended recipient please
destroy all paper and electronic copies of the original message

Actions v Apply

 

 

12/23/2015

Trudy SAWYER 314333

6- Sent- YahooMal 1 1 fl
Case4:1--5ch fp§§e 0

19
737 Document 1- 1 Filed in TXSD on 12/28/15 Page 19 0

OO\O

l:::]Trudy Accountlnfo v m Sign Out Home

 

Contacts Noteoad Calendar
Actions v Apply kdi homes
inv ~"` '.
ox (24“0) § Turbo¥ou... 00 Not Buy A New Compute...
Sponsored People amazed at the real

Draf|s (75)

Trudy SAWVER 3143339196
Sent

From: "sawyerrann@yahoo.com"<sawyertann@yahoo.com>
S 565
m‘ ) To: consumer.help@ago.mo.gov

Trash
My Folders

Here are some pictures pertaining to my case with Geico.

Sent from my Boost Mobile Phone.
Sr>onsored

 

Hegg of C\r§
Wlton Out! This ‘l'ruotr Driver
Unlo¢ds Like A Boss!

 

 

 

Actions v App|y

https://us-mg$ .mail.yahoo.com/neo/b/message?pSize=25&sMid=390&t`1d=Sent&mid=2_. .. 12/23/2015

 

Trudy SAWYER - Sent - Yahoo Mail _ _ Pa§e 1 of 1
Case 4:15-cV-03737 Document 1-1 Fl|ed in TXSD on 12/28/15 Page 20 015

:lTrudy Account|nfo v m Sign Out Home

Contacts Notepad Calendar

Actions v Apply
lnbox (24600) §§ chi Luke Bryan Talls Exclusivel...
g Sponsored Go backstage with Luke Bryan to

Dral'ts (75)

Trudy SAWYER
Sent

From: "sawyertann@yahoo.com"<sawyertann@yahoo.com>
5 565
pam( ) 'for consumer.he|p@agormo.gov

Trash
My Folders

l paid for professionAl exterminAtion on May 7 l told the company that bugs bit
Sp°ns° ed me within thirty minutes in the carl left car closed for a day. As you can see l

f

am still washing Buying pest control Bags detergent everyday Hindered me.
,.,.m Sent from my Boost Mobile Phone_

   

q y;,.',1¢;,1 mm

Helrt d §§
Wlloh Outl This Trud( Driver
Unlo.ds Ll\re A BOSSI

    
   

renew o..-_ a

YAHOO!

loR<sAl~ilzr: wlTH
vAHoo MAlL.

L€afn more

Actions v Apply

https://us-mg$.mail.yahoo.com/neo/b/message?pSize=Z5&sMid=386&fid=Sent&mid=2_. .. 12/23/2015

Framing Forbidden _ _ %a§e 1 ofl
Case 4:15-cV-03737 Document 1-1 Fl|ed in TXSD on 12/28/15 Page 21 of

10 help protect tile securile 01 irliom'la‘r§<m you enter into 'll'i§z;
Wt‘ziia:ita, tile ;;ml:>liz;l“lrezr of ?il"li€; 11 indem rior-353 not i;§i§l)w/ iii to lie
cti `z:z go i need iri air l rel m tit

res;//ieframe.dll/forbidframing.htm 12/23/2015

Fwd: TRUDY savigler- Sent- YahooMa il _ _ I’Ba§e 1 of 1
Case 4 1 C\/- -03737 Document1-1 Fl|ed in TXSD on 12/28/15 Page 22 of

::lTrudy Accountlnfo v m Sign Out Home

Corltacts Notepad Calendar ~ l _ ~ » , f ~ ~~ ~
Actions v Apply :… , , .
'”b°¥ 124“1) o _ As|lford U... Become a Student at an Acc... D'l R ECTV
- _= , Sponsored Take all your classes online and Now pertal'theA'mT§femlly.
Dratts (75) . l g l
Fwd: TRUDY sawyer
Sent
From: "sawyertann@yahoo.oom"<sawyertann@yahoo.oom>
5 554
pam( ) To: jswoish@geioo.com
Trash
My Fold¢rs
My new address is 4800 |aminate houston txt,77092.-i have not ‘received
Sp°"som reimbursement for time lost for bugs biting me, l have not heard from this

company Because my car was not exterminate d effectivelyl bugs Are still in

my car.
_ h Sent from my Boost Mobile Phone.

mm ~_~‘ Ol’iglnal Me$$a§e ""_°
Amencans Buying This Subject: TRUDY sawyer

Fl¢shlimt By The Thousends From:

To: § weish@g§ico.com
CC:

You need these.

Sent from my Boost Mobile Phone.

 

;:)0\ 5 `.… CO \/Vl
(/{"@ 0 fy }/y/\ Acnons v Apply
jl 939

https://us-mg$.mail.yahoo.com/neo/b/message?sMid=3 73&f'ld=Sent&sorr=date&order=d. .. 12/23/2015

Re: Receipt - Sent - Yahoo Mail

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 23 015

C.ontacts

|nbox (24601)
Drafts (75)
Sent

Spam 1560

Trash

My Fo|ders

Sponsored

 

tls.lt!_nLQaLs
Wntd'i Out! This Truck Driver
Unlonds lee A Bess!

https ://us-mg$ . mail .yahoo. com/neo/b/message?sMid=349&fld=Sent&sort'~‘date&order=d. ..

Noiepad

Pa§e 1 of 2

|::|Trudy Accountlnfo v {:] Sign Out Home

Ca|endar
Actlons v Apply
ASFCA 60¢ a bay Can Save Ltves
Sponsored Make a tax-deductible gift to
Re: Receipt

From: "sawyertann@yahoo.oom"<sawyertann@yahoo.com>

To: ablackwell@geico.com

Trudy Sawyer. This went into Jason S~oish emails over a month ago.
Sent from my Kyomra Hydro

Christie Perry <cge;ry@americareservioes.com> wrote:

Batch Number. 9823

Biil-To Aceount: 181828 (SAWYER, TRUDY)
Payment Date: 05/12/2015

Amount. 150.00

Reference: CASH

Method of Payment: CA

GL Code:

Program;

Service Setup:

Service:

invoices That This Payment Was Applied To

invoice # Order # invoice Date lnvoice Total Balance Application Date Applied
Amount Discount Adjust.

512814 726672 05/07/2015 150_00 0.00 05/12/2015 150.00 0.00
[UnapplyUnaPplyl

Christie C. Perry
Accountlng Department

Phone#: 615-893-7111 Ext# 115
Toll Free#: 1-877-506-3029
Fax#: 615-896-2688

lE

Batch Number: 9823

Bill~To Account: 181828 (SAWYER, TRUDV)
Payment Date: 05/12/2015

Amount 150.00

Reference: CASH

Method of Payment: CA

GL Code:

ngram:

Service Setup:

Service:

invoices That This Payment Was Applied To

invoice # Order # invoice Date lnvoice Total Ba|ance Application Date App|ied
Amount Discount Ad]ust.

512814 726672 05/07/2015 150.00 0.00 05/12/2015 150.00 0.00
lUnapPll/U"app'¥}

Christie C. Perry
Accounting Department
CPerg@AmeriCareSen/ices.com

Ameri Care Services, |nc.

12/23/2015

Case Number TC2015-05-001643 - Sent - Yahoo Mail

Case 4:15-cV-03737 Document 1-1

Contacts

tribal (24081)
Drafts (75)
Sent

SPN|\ 15“)

Trash

My Fo|ders

Sponsored

s%

NEA_QM_EI§$M
Americens ewing This
Flashlidit By The 'l'housends

 

https://us-mg$.mail.yahoo.com/neo/b/message?sMid=326&f1d=Sent&sort=date&order=d. . .

Filed in TXSD on 12/28/15 Page 24 015

Pa§e 1 of 1

'[::)Trudy Accountlnfo v l:] Sign Out Home

Calendar

Actions v Apply

"- .
`!` Turbo¥ou... Do Not BuyA New compute...

Sponsored People amazed at the real

Case Number T62015~05-001
643

From: "Trudy Sawyer" <sawyenann@yahoo.com>

To: consumer.help@ago.mo.gov

This message is for My case worker
Hello this is Trudy Sawyer, this case is regarding Geico insurance

Wil|iam Lehnert called me a week ago and complained that | had not sent him
medical billsl l sent the medical bills to Jason Swoish as soon as l received
them; l sent them through his emai| because Wil|iam would not provide his
email. l asked Mr. S~oish to forward them to Wil|iam for this reason. A|so, Mr.
Wil|iam had permission from the medical companies to get the bills. HE
complained that l would not cooperate but he was playing games with me; he
purposely would not give me his email because so that he could say thatl
wasn‘t cooperating Why wouldn't l cooperate | am still buying pest control
Everywhere l go. bugs get on other people; this is not right | have been so
ashamed and humi|lted_ l am still a student l had trouble in school with bugs
biting on me as l tried to focus

Moreoverl l paid Americare Pest Contro| $150.00 to extemlinate my car on
May 7, 2015, and on May10,2015l l had to get a hotel when | left town
because the bugs were biting me so bad. The bugs are now in my new place.
l could not stay in my old place because l spent all of my money that l had left
to keep the bugs off of ME. | HAD GOTTEN A CONTRACT FROM AN
AGENCV TO PAY SlX MONTHS RENT BECAUSE l WAS OFF FROM WORK,
THE APARTMENT WOULDN'T TAKE lT BECAUSE | HAD BUGS lN THE|R
HOUSE AS THEY EXTERM|NATED TO EL|M|NATE THlS, THEY SA|D, l
GOT TO GET THOSE BUGS OUT OF MY CAR; SlNCE lT TOOK SO LONG
TO FlND A COMPAN¥, THEV WOULDNT LET ME STA¥ lN THE
APARTMENT. | had to eat out everyday because there were bugs in the
house and the car. THE BUGS lN THE CAR WHERE HANG|NG ONTO MY
EVEL|DS AND BlT lN MY EVE; THAT lS DANGEROUS WH|LE DRlV|NG.

ALL OF MY BILLS ARE OVERDUE. ALL OF MY CREDIT lS DESTROVED. l
HAVE NO MORE MONEV. CANT GO TO WORK UNT|L BUGS ARE OUT OF
MY CAR.

l WOULD L|KE FOR THE INSURANCE COMPANT TO PlCK UP M‘/ CAR
AND EXTERM|NATE lT AND GlVE ME A RENTAL CAR UNT|L THE BUGS
ARE COMPLETELY OUT; ALSO, THEY NEED TO PAY ME FOR BACK
WAGES. PLEASE CONTACT ME. 314-333-9196

THEY ALREADY |NCREASED MY PREM|UM; l TH|NK THEY ARE WAlTlNG
TO DROP MY INSURANCE THEY ARE WA|TING FOR ME TO BE LATE.

THEV SA|D THEV SENT A CHECK FOR PEST CONTROL EARLV |N MAY, |
HAVE NOT SEEN lT. THANK YOU.

Actions v Apply

12/23/2015

Re: Receipt - Sent - Yahoo Mail _ _ Pa e 2 of 2
Case 4:15-cV-03737 Document 1-1 Fl|ed in TXSD on 12/28/15 Page 25 015§

Phone#: 615-893-7111 Ext# 115

Toll Free#: 1~877-506-3029

Fax#: 615-896-2668

www.AmeriCareServioes,com<h ://vm~.americareservices.coml>

[cid:image001.gng@01DOAAB4.39D61130|

Actions v Apply

https://us-mg$.mail.yahoo.com/neo/b/message?sMid=349&f`ld=Sent&sort=date&ordel=d. .. 12/23/2015

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 26 of 55

GElco@ GEICO General insurance Company

geico.com

 

 

One GElCO Center
Macon, GA 31294-9709

6/26/2015

Ms. Trudy Sawyer
2426 E Main St APT K12
Murfreesboro, TN 37127-5839

Company Name: Geico General insurance Company
Claim Number: 040380437-0101-030

Loss Date: Thursday, March 12, 2015
Policyholder: Trudy Sawyer

Dear Ms. Sawyer,

if you are still interested in pursuing the claim referenced above, please contact us
immediately.

We are going to hold the file open for an additional 15 days from the date of this |etter. if we
don’t hear from you, we will then close the flie.

You can call me at the number below.
Sincereiy,
Wil|iam Lehnert li, Examiner Code F1LA

832-772-0486
Ciaims Depariment

Ec0009 (1/2001)

Trudy Sawyer, TC2015-05-001643/ GEIC() claim Letter - Sent - Yahoo Mail

Paelon

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 27 of 5

Contacts

imm mmi
omits usi
Sent

3m (5“)

Trash

My Felden

Sponsored

se

N.EA_QZQ.Q_E|M
Americms Buying This
Flashll¢tt By The thousands

https://us-mg$.mail.yahoo.com/neo/b/message?sMid=305&t`1d=Sent&sort=date&order-=d...

Notepad

[::]Trudy Account|nfo v [:I Sign Out Home

Ca|endar

Actions v Apply

`&. rurvovau... no mr euyA new compun...

Sponsored People amazed at the real

Trudy Sawyer, TC2015-05-001
643/ GElCO claim Letter

From: "Trudy Sawyer“‘ <sawyertann@yahoo.com>

To: consumer.help@ago.mo.gov

1 Files 57KB

Hel|o, l am Trudy Sawyer, | am sending you this letter or my file. Geico has
been playing around with this case hoping that my insurance get cancelled; l
don‘t have money to pay my premium anymore; my son has been paying both
of our bills l have lost my clients and can not work Temporary because bugs
are in my clothes, my hair and car; l have not been able to keep them out. Al|
of my clothes are affected from being in the car, even my shoes and purses
have bugs in them. \M'ieneverl go somewhere even outside the bugs began to
get on others and bite them; this has been terrible

A|l of my credit cards used to buy food out, buy pest contro|, washing powder,
soap, plastic bags; all are charged up and over due; same are gone into
collection; l am embarrassed everywhere | go. My car note is passed due two
months. l spent all the money l had trying to keep the bugs oti‘ of me and out
of the car. | called Americare two weeks ago to tell them again that the bugs
that they exterminated on May 7, 2015 have been in my car since May 8, 2015
and now they are in my new place all over my clothes l sent them a letter
asking or money baclc they said they would call me a week ago and never did
l need a job end money and credit restored; my life has been miserable and l
wonder when will l get help.

Eileen is Wil|iam Lehnert‘s supervisor; evidently they are not sharing
information because he keeps asking me to give him documents that l gave
Jason &Noish and Eileen; l don‘t think that this is fair that they keep shuffling
around my information to avoid paying

| need them to pay me my back wages since March; | don‘t get unemployment
benefits; l have been begging and borrowing money

On Fri. 6/26/15. sh_ne_t_tenlx@oeis§_mm <de..net_.renl.¥@§§l§sz.c.o.m>

wrote:

> From: do not regly@ggico.com <do not regy@geico.com>
> Subject: GElCO claim Letter

> To: sawyertann@yghoo.com

> Date: Friday, June 26, 2015, 7:52 AM

> GElCO Claim

> Correspondence

>

>

> GElCO Claim

> Correspondence

> Attached is

> correspondence regarding your claim

> 0403804370101030.

>

>

>

> |f you would like to respond to this email, please select

> the "View Your Claim" button to access the claim

> on geico.com and send a message to your claims team or
> adjuster

>

>

>

> if you are unable to open the attachment please go to this
> site and download the free Adobe Acrobat Rear.‘lerl
hD/F_ELSMM

>

>

 

 

 

 

 

12/23/2015

Trudy Sawyer, TC2015- 05- 001643/ GEICO claim Lette_r- Sent- YahooM ail Pa e 2 of 2
Case 4:15-0\/- -03737 Document 1- 1 Filed in TXSD on 12/28/15 Page 28 of 5

> Thank you,

> GElOO Claims `l'eam

>

>

> Do Not Rep|y To This

> Emai|

>

>

> lnformation emailed in response to this message

> will not become part of your claim ti|e; submit your

> inquiries to contact us on geico.com.

> Government Employees

> lnsurance Company| GElCO General insurance Company | GElCO
> indemnity Company | GElCO Casualty Company

> Mai|ing address: One GElCO Plaza, Washingtonl D,C. 20076
>

 

Actlons v Apply

https://us-mg$ .mail.yahoo.com/neo/b/message?sMid=3OS&f'ld=Sent&sort=date&order=d. .. 12/23/2015

Trudy Sawyer/TC201505-001643/ GEICO claim Letter - Sent - Yahoo

Mail

Paelof3

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 29 of 5

Contacts

lnbox (24681)
Drafts (75)
Sent

Spam (564)

Trash

My Folders

 

NEA_QZM_EMM
insane Navy Seat Flashlidit
Seiling Out Fa§l

https ://us-mgS . mail .yahoo. com/neo/b/message?sMid=3 04&t`1d=Sent&sort=date&0rder=d. ..

[:}Trudy Account|nto v E Sign Out Home

Ce|endar
Actlons v Apply
w Vahoo Se... Mesdlhelioma Lawsuit - Wha...
` Sponsored Everything you have ever
Trudy Sawyer/TC201505-0016

431 GElCO claim Letter
From: "Trudy Sawyer" <sawyertann@yahoo.com>

Tu: consumerhelp@ago.mo.gov

Dear Representative, this was another letter that l received from William's
supervisor | sent Jason Swoish copies of hospital bills and the extermination
in email; they keep requesting the same information Also | am constantly
buying products to keep the bugs from multiplying l don‘t have money to hire a
professional exterminated', l am not working Geico have not given me
anything

P|ease help mel They are not doing me right Here is a copy of their letter
Thanks

-On Fri, 6/19/15, do not rep_l¥@_geico.com <do not re l `corcom>
wrote:

> From: do not reply@ggico.com <do not re eico.com>
> Subject: GElCO claim Letter

> To: sawyertann@_y§hoo.com
> Date; Friday, June 19, 2015, 9:55 AM
>

Customer: Trudy Sawyer

VVVVVVVVVVVVVVVVVVVVVV

> Claim Number:

> 0403804374]101-030
>

>

> Date of Loss: March
> 12l 2015

>

>

> Claim Center Log ln >
>

VVVVVVV\/VVVVVV

 

 

 

 

 

12/23/2015

Trudy Sawyer/T

C201505-001643/ GEICO claim Letter - Sent - Yahoo Mail

Pa e20f3

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 30 of 5

https ://us-mg$ .mail .yahoo. com/neo/b/message?sMid=3 04&t'1d=Sent&sort=date&ordet=d. ..

 

> Dear
> Trudy Sawyerl
>

VVV

>

> This letter is to inform

> you that we have received your most recent batch of

> receipts We thank you very much for sending them in,

> however, we will not be paying for any more over-thecounter
> extermination items such as bug spray or trash bags We are
> still waiting for you to send us a professional

> extermination bill for the extermination of the bugs in your

> vehicle. Please send that bi||, when available, to

> _A_Q|ackwel@geico.com and reference the GElCO claim

> number

>

VVVV

> P|ease call us at the

> number listed below if you have any questions
>

Sincere|y,

VVVVVVVVVV

> William Lehnert
> li

>

>

> 832-772-0486
>

V\lV

>

> Any person who knowingly, and

> with intent to defraud any insurance company or other

> person, files a statement of claim containing any materially
> false informationl or conceals, for the purpose of

> misleading information concerning any fact material

> theretol commits a fraudulent insurance act, which is a

> crime, and may also be subject to a civil penalty.

>

geico.com | GElCO Claim Center | Contact Us |
AboutGElCO

VVVVVVVVVVVVVV\J

> Do
> Not Reply To This Email
>

>

> information

> emailed in response to this message will not become part of
> your claim fi|e; submit your inquiries to contact us on

> geico,com.

>

>

> GElCO General

> insurance Company | Mailing address: One GElCO Plazal
> Washington, D.C. 20076

>

VVVVVVV

12/23/2015

Trudy Sawyer/TC201 5-05-001643/Geico Re: Recei t - Sent - Yahoo Mail

Case 4:15-cV-03737 Fi ed in TXSD on 12/28/15 Page 31 of 5

Contacts

lnbox (24681)
omits usi
Sent

$P&m (5“)

Trash

My Fold¢r$

$ponsomd

ii

NELG]_Q!LEL\SJM
Arnericans Buying This
Flaehlidit By The Thousends

https ://us-mgS.mail .yahoo. com/neo/b/message?sMi d=3 03&f1d=Sent&sort=date&order=d. ..

Note pad

Document 1-1

Pae10f2

::]Trudy Accountlnfo v E Sign Out Home

Calendar
Actions v Apply
`~`- .
d TurboYou... DeNotBuyAN¢wCompute...
Sponsored People amazed at the real
Trudy Sawyer/T62015-05-001

643/Geico Re: Receipt
From: "Trudy Sawyer" <sawyemnn@yahoo.com>

T¢>: consumer.help@agc.mo.gov

He||o, here is a copy of the extermination receipt for the car

l really need help, my credit is messed up since l have not worked, this is
jeopardizing my insurance premiums end my ability to get employment All of
my accounts are delinquentl l have about nine accounts that are delinquent

- On Fril 6/19/15. Mertann@_yahoo.com <sawyertann@yahoo.com> wrote:

> From: samegann@yahoo.@m <saw_yertann@yahoo_com>
> Subiect: Re: Receipt

> To: ablackwell@g§§' o.com

> Date: Friday, June 19, 2015, 7:58 PM

> Trudy Sawyer This went into Jason

> Suoish emaiis over a month ago.

> Sent from my Kyocera Hydro

>
> Christie Perry <cggy@americareservices.com>
> wrote:

>

VVVVVVV

>

> Batch Number: 9823

> Bill~To Account:

> 181828 (SAWYERl TRUDY)
> Payment Date: 05/12/2015

>

> Amount: 150.00

> Reference:

> CASH

> Method of Payment:
> CA

> GL Code:

> Program:

> Service Setup:

>

> Service:

>

> invoices That This Payment
> Was App|ied To

>

> lnvoice # Order # lnvoice

> Date invoice Total Ba|ance App|ication Date Applied Amount
> Discount Adjust.

>

> 512814 726672 05/07/2015

> 150.00 0.00 05/12/2015 150.00 0.00

> [UnapplyUnappli/l

>

> Christie C. Perry

> Accounting

> Department

> CPeg@AmeriCareServices.com
>

> Ameri Care Services,
> |nc.

> Phone#: 615-89&7111
> Ext# 115

> Toll Free#:

> 1-877~50&3029

> Fax#:

> 615-896-2688

 

 

 

2000 Chrys|er
Voyager

$3,994

 

2008 BMW 328 i

$14,987

 

 

2015 lnfiniti 050

524.9£i"r

 

 

2015 Infiniti Q70L
3.7X

$38,995

 

 

 

 

12/23/2015

Trudy Sawyer/T C2015-05 OOl643/Geico Re: Recei t- _Sent- YahooM ail P%ge 2 of 2
Case 4: 15- -c\/- -03737 Document 1- 1 Fled in TXSD on 12/28/15 Page 32 of 5

> m/w.AmeriCareServices.com

VVVVVVVV

>

> Betch Number: 9823

> Bi|l-To Account: 181828 (SAWYER, TRUDY)

> Payment Date; 05/12/2015

> Amount: 150.00

> Reference: CASH

> Method of Payment: CA

> GL Code:

> Program:

> Service Setup;

> Service:

> lnvoices That This Payment Was App|ied To

>

> lnvoice # Order # lnvoice Date lnvoice Tota| Balance
> Application Date App|ied Amount

> Discount Adjust.

> 512814 726672 05l07l2015150.00 0.00 05/12/2015 150.00
> 0.00 [UnapplyUnapply]

>

> Christie C. Perry

> Accounting Department

>

> Ameri Care Services, lnc.

> Phone#: 615-893~7111 Ext# 115

> Toll Free#: 1-877-506-3029

> Fax#: 615-896~2688

> umw.AmeriCareSer\/ioes.com<httg:/lwww.americareservices com/>

>
> [cidiima@OOt.mg@OiB/XAB¢SSDM 130

>

>
>
>

 

Actions v Apply

https://us-mg$.mail.yahoo. com/neo/b/message? sMid=3 03&f1d=Sent&sort-_-date& order=d. .. 12/23/201 5

TRUDY SAWYER/AUT() LOAN - Sent - Yahoo Mail

Case 4:15-cV-O3737 Document 1-1 Filed in TXSD on 12/28/15 Page 33 of 5

Pzége l of2

::ITrudy Accountinfo v m Sign Out Home

Contacts Notepaci Caiendar
Actions v Apply
lllb°! (14579) American... Hi|wn HHonors"' Card
Sponsored Eam 40,000 Hiiton HHonorsm

Dratts (75)

TRUDV SAWYERIAUTO LCA
Sent

N
Spam (Wi ' 1 ~ From: "Trudy Sawyer" <sawyertann@yahoo.com>
Trash . x To: saver@capitaione360.com
My Foiders

From Trudy Sawyer DATE: 7-9-2015

l can not call you because my son uses my telephone ali dayl he is a
saiesman; someone took his telephone and he has been taking care of me so |
had to let him use my telephone until money comes in for another one.

 

l paid $10,000.00 down on that car; l need and want my vehicle l asked you
representative in May, 2015 for a skip pay and they told me no. Nowi will tell
you the primary reason

NEA_Gli!LEllidllltl
insane Navy Seat Fieshiid\t
Seiiing Out Festi

in March 2015, l was bit all over my neck face and other parts of my body in
my car The bugs bit me in hair so bad it broke out and kept breaking ali the
way otf. i have to wear a plastic bag on my head my and night to keep the
bugs from getting to my hair and scaip. There are karge black spots on both
sides of my face from bugs biting me, Next‘ the bugs were hanging onto my
eye iids and was biting me in the eye whenever l have to drive. They bit my
legs so bad until it feels like l was cut by a lot of razors.

When i got out of the car, and took my things in the house. they got all over the
house in everything of mine; shoes, ciothes, biankets, pursesl hats, belts
socks. fumiture, radiosl computers you name it i did not know about the

bugs i

My friend called Geico for me on March 18, 2015; i told them what was
happening; Wil|iam Lehnert told me to go to doctor and they will pay medical
and times l missed offwork. Weil i went to the hospital twice and the doctor
twice; from therel i tried to hght them. Jeremy told me to save all receipts until
| was over the $500 deductible No one could find an exterminator to spray the
car; l asked Jason Swoish he said he would look but he didn‘t.

When i finally found one, the bugs had multiplied so until the Apartment
complex paid to have the apartment sprayed; they said l had to have the car
done because they were not going to keep paying for extermination in fact they
did not want me to live there anymore because of the bugs; l had to leave.

Next, l spent every doiiar, savings eamings, borrowed money to try to keep
the bugs out and to maintain l spent credit card money, apartment money
auto payment money to keep those bugs from multiplying; unfortunately it
didn‘t kiii them ali.

i SLEPT |N THE BATHTUB WRAPPED |N PLAST|C EVERY N|GHT TO KEEP
THE BUGS FROM B|T|NG ME; l WAS AFRA|D OF BElNG SMOTHERED BY
THAT PLASTIC BUT iT WAS THE ONLY WAY TO KEEP THEM FROM
B|T|NG ME. THE REST OF THE HOUSE HAD CARPET SO iT WAS MORE
BUGS.

l SENT THE LETTERS, EMAiLS AND PlCTURES TO THE ATTORNE¥
GENERAL WHO iS WORK|NG W|TH ME TO GET GElCO TO PAY.

l AM ASKiNG VOU TO LET ME KEEP MY VEHlCLE; | BEL|EVED l HAVE
SUFFERED ENOUGH l SHOULD BE ABLE TO CONT|NUE MV LOAN.

CAN YOU PLEASE PUT TWO PAYMENTS AT THE END OF THE LOAN AND
ALLOW ME TO PAY JULY, 2015.

HERE |S THE TELEPHONE NUMBER TO THE ATTORNEV GENERAL'S
OFF|CE VOU CAN ASKR MY CASE WORKER AND FlND OUT WHEN
GElCO WiLL GlVE ME MONEY FOR T|ME MiSSED FROM WORKING.

| CANNOT GO ANYWHERE; THE BUGS BiT ME AND THE PEOPLE
AROUND ME; THEY BE |N MV CLOTHES, SHOES, PURSE iN FACT MOST
OF THE T|ME i DONT CARRY A PURSE TO KEEP THEM FROM GETT|NG
|N iT.

MORE, THE BUGS ARE |N THE HOUSE WHEREi AM NOW; THAT HAS TO

https://us-mg$.mail_yahoo.com/neo/b/message?sMid=1 85&f1d=Sent&sort=date&order=d. ..

 

 

201 4 Mazda
Mazda2 Sport

$12‘986

 

2013 infiniti 637
Sport

323,90()

 

 

 

 

 

2012 lnt'initi 637
Journey

$22,300

 

2014 Tesia Mode| S
Base

354 1300

 

 

12/23/2015

TRUDY SAWYER/AUTO LOAN - Sent - Yahoo Mail _ Pa e 2 of 2
Case 4:15-cV-O3737 Document 1-1 Filed in TXSD on 12/28/15 Page 34 of 5

BE CLEANED.

GElCO TOLD ME NOT TO SEND THEM ANYMORE RECE|PTS, | AM ST|LL
BUY|NG PEST CONTROL. l USED EVERY PRODUCT OVER THE
COUNTER TO STOP THEM; RAID, HOT SHOY, BED BUG FOGGER, HOME
DEFENSE, BENGAL, ORTHO, TAT, PEPPERM|NT BED BUG (ADVERT|SED
ON TV) FABR| CLEAR, l USED ALL OF THESE AND MORE.

l SPENT EVERVBODY'S MONEY TO TRY TO KEEP THEM OUT; l HAD TO
BUY FOOD OUT EVER¥DAY BECAUSE BUGS FLY|NG AROUND THE
HOUSE AND CAR.

l HAD TO CHANGE CLOTHES OUTS|DE TO GO lN THE HOUSE ONCE lT
WAS SPRAYED WHENEVER | HAD TO USE THE CAR.

l HAD TO DROP TWO CLASSES FROM MV MASTER PROGRAM IN
SCHOOL BECAUSE l WAS DEPRESSED.

FOUR MONTHS AND THE BUGS ARE ST|LL |N MV TH|NGS. THE
|NSURANCE COMPANY KEPT PUTT|NG ME OFF UNT|L | HAD TO GET
EVERYONE POSS|BLE TO HELP ME. l MA¥ HAVE SPENT ABOUT
$5,000.00 ON PLAST|C WARE, WASH|NG EVERYDAY, GAS, VACUUM|NG
THE CAR, WASH|NG PRODUCTS, ALCOHOL, OlNTMENT, SHAMPOO,
SOAP, DEODERANT. TAPE, BLEACH. PEST CONTROL PRODUCTS,
FOOD, AND ETC EVER¥DA¥ FOR FOUR MONTHS

MY SON BOUGHT MORE CLOTHES BUT BUGS ARE lN THEM.

NOW, HERE lS THE TELEPHONE NUMBER TO MY CASE WORKER; CALL
ATTORNEY GENERAL AND ASK H|M WHEN W|LL GElCO PAY ME FOR
T|ME OFF AND WHEN W|LL THEY EXTERM|NATE THE CAR? ¥OU CAN
SEND THlS LETTER, l GlVE YOU PERMlSSlON TO TALK TO THEM

ALSO HERE lS THE NUMBER TO GElCOZ THEY GAVE ME $?80.00 l JUST
RECE|VED LAST WEEK FOR PEST CONTROL; WELL l SPENT SO MUCH l
HAVE YONS OF RECE\PTS, PlCTURES AND LETTERS ARE AT
ATTORNEY GENERAL'S OFF|CE. 573-751»0774 FAX; TELEPHONE
NUMBER lS 573~751»3321; MV CASE NUMBER lS TC2015»05-001643. MV
GElCO CLAlM NUMBER |S 04038043701030 YOU CAN ASK FOR W|LL|AM
LEHNERT. JASON SWOlSl-i OR ElLEEN.

| W|LL SEE |F | CAN USE SOMEONE‘ TELEPHONE TO CALL YOU
TOMORROW ON FR|DAY, JULY 10, 2015. THANK ¥OU VERY MUCH; YOU
CAN GlVE ATTORNEY GENERAL TH|S LETTER, l SENT HIM
NOT|F|CAT|ON OF THE DEBT | HAVE ACCUMULATED, THE PAST DUE
BlLLS BUT NOT THlS ONE,

TRUDY SAWYER XXX-XX-XXXX/ 314-333-9196

Subject: YourAuto Loan Statement is Now Avai|ab|e
TOr "Trudv" <samsnano@yang.c.s;cm>
Date: Fn`day, June 26, 2015. 8:34 AM

 

Actions v Apply

https://us-mg$.mail.yahoo.com/neo/b/message?sMid=185&t`1d=Sent&sort=date&order-‘d. .. 12/23/201 5

Trudy SAwy

Contacts

lnbox 124619)
Drahs (75)
Sent

SPIm 1560

Trash

My Folders

Sponeored

NPA G700 F|Iehl_m

Amerluns Buying This
Fleshlidil By the Thousands

https ://us-mgS . mail .yahoo. com/neo/b/message?sMid= l 64&f1d=Sent&sort°~“date&order=d. ..

Notepad

 

er 410196892 - Sent - Yahoo Mail _ _
Case 4:15-cV-O3737 Document 1-1 Filed in TXSD on 12/28/15 Page 35 of 5

Pzége l ofl

::|Trudy Account|nfo v |:| Sign Out Home

Calendar
Actions v Apply
LendlngTr... Texas Retlnanco Rahs Ta|re...
Sponsored Rates now at 2.97% APR in
Trudy SAwyer 4101 96892

From: "Trudy Sawyer" <sawyertann@yahoo.com>

To: saver@capitalone360.com

HELLO THlS |S TRUDV SAVVYER;

| REALLY NEED UNT|L JULY 25, 2015 TO GET AT LEAST $400.00 TO KEEP
MV CAR OUT OF REPOSSESS|ON. l TALKED W|TH AMANDA ON FR|DAV,
AND SHE SA|D GET THE MONEY BY MONDAY FOR 280.00 l DONT HAVE
A TELEPHONE AND| DONT HAVE FRlENDS HERE. MY FR|ENDS WHO
WOULD GlVE ME MONEV lN ST LOUlS COULD NOT REACH ME. l NEED
T|ME TO REACH THEM EVEN |F |T BY MAlL.

PLEASE CALL THE ATTORNEY GENERAL‘S OFF|CE AND LET HlM KNOW
THAT l AM |N TH|S POSlTlON SO THAT HE CAN ENCOURAGE GElCO
|NSURANCE TO PAV ME FOR MV BACK WAGES OF 4 MONTHS. l W|LL
SEE lF| CAN GET SOMEBODV TO LET ME USE THE TELEPHONE ON
WEDNESDAY, JULY 15. 2015.

THANK YOU.

Aclions v Apply

2010 Audi 05 3.2
Premium quattro

$17,988

2014 lnt'initi 050
Premium

323,877

2015 lnfiniti Q70L
3.7X

$3?)_519;\

2005 Dodge Ram
1 500 ST

$11,995

12/23/2015

Trudy Sawyer/ TC2015-05001643 - Sent - Yahoo Mail _
Case 4:15-cV-O3737 Document 1-1 Filed in TXSD on 12/28/15 Page 36 of 5

Contacts

lnbox (24679)
Drafts (75)
Sent

Splm l564l

Trash

My Fokkts

Sponsored

§§

NM_GID&MM
Amerlcans Buying This
F|ashlidit By The Tho\islnds

https ://us-mgS . mail .yahoo. com/neo/b/message?sMi d= l 62&f1d=Sent&sort=date&order=d. ..

Pa e10f2

l::|dey Account|nfo v m Sign Out Home

Noteoad Calendar
Actions v Apply
? in rmcndii... you can see Your credit R¢...
K`J Sponsored Cunous what's on your Credit
Trudy Sawyerl TC201 5~05001
643

From: "T rudy Sawyer" <sawyertann@yahoo.com>

To: consumer.help@ago.mo.gov

2 Files ‘i`E.QKB

DEAR Representative, attached are letters sent from my Finance Company,

Capital One regarding the three payments l missed paying my Mazda 2, 2014.

l paid $10,000.00 down on it and they loaned me $7,000.00.

l have been off from work since the bugs got in my car March 14, 2015. The
bugs are in all of my clothes_ my car, my hair, shoes, purses and | have not
been able to keep them out. l don‘t have money to pay for professional
extermination; l had paid a professional in Tennessee to exterminate the car
but the next day bugs were biting me and the bugs got into the new house

Geico has been promising to pay me but they only gave me $280 after l spent
about $3000.00 between the two houses and the car to try to keep the bugs
out. Everywhere | go bugs start biting me and the people around me. lt is
embarrassing; when l go to look for a job,bugs be biting me and l smell look
bug spray.

Please call CApital One for me, l need my vehicle and l paid too much down
on this. 800-946~0332. CapifalOne. social security number 410196892.

| have no one to help me; this has been a long suffering battle

| asked them to move two payments to the end of the loan and allow me to pay

July, | asked them to give me time in July to get it because l have no phone
right now, | have to reach my friends when they are notworking. l need until
July 25, 2015 to get at least $280.00. Thank you. P|ease emai| me back
Thank youl Trudy Sawyer,

»-- On Fn} 7/10/15` Capiwl One Auto Finance
<Custome@rvice no regy_@cagitalone.com> wrote:

> From: Capital One Auto Finance

<Customerservioe no repy@cagitalone,com>

> Subject: Here is your document from Capital One Auto Finance
> To: SAWYERTANN@VAU)_O.COM

> Date: Friday, July 10, 2015l 4:09 PM

>

>

>

> Dear TRUDY SAWYER,

> We have provided a password~protected copy of your
> account document in this emai| for

> you. fn order to keep your information safe and
> secure, you will need to enter the

> last four digits of your Socia| Security Number

> to access

> this document Vou will also need Adobe

> Readei@ to open this PDFv

> Thank you for being a Capital One Auto

> Finance® customer - we appreciate your

> businessl

> Sincerelyl

Capital One Auto Finance

>
>
>
>
>

 

 

2014 BMW 228i

$19,988

 

2004 Fo rd Focus
ZX5

$4,444

 

 

 

 

 

2014 lnt“initi 050
Premium

$22,688

 

2010 Audi 05 3.2
Premium quattro

Sl7.981l

 

 

12/23/2015

Re: GElCO claim Letter - Sent - Yahoo Mail _ _
Case 4:15-cV-O3737 Document 1-1 Filed in TXSD on 12/28/15 Page 37 of 5

Contacts

lnbox (24683)
omits usi
Sent

Spam (567)

Trash

My Folders

S-naored

    

willamette
Shine with a Unique Poaerful
Exdic Chmond Ring

Note pad Caieridar

w freecredit...
Sponsored

Actions

You ¢an See your Credit Re...
Curious what’s on your Credit

Re: GElCO claim Letter

Paelofl

:}Trudy Accountlnfo v \::] Sign Out Home

V Apply

From: “sawyertann@yahoo.com"<sawyertann@yahoo.oom>

To: do_not_reply@geico.com

Mr Leonard your supervisor has the cleAning bills they are over six hundred l
will fax in remaining medical bills l will fonivard emails to you. l need you to pay
forthe car. l been off from work since march 14

Sent from my Boost Mobi|e Phone.

do not reply@g§ico.com wrote:

 

Dear Trudy Sawyer,

This is a courtesy letter in regards to the voicemail | left on your
answering machine on April 7th. 2015. As stated in the voicemail, if
you want to get your vehicle cleaned out then you would needle hire
a bug exterminator to clean out your car. ¥ou could then send us the
receipt and if the price exceeds your Comp deductible then GElCO

would be able to pay for the difference

As far as medical payments you would also need to send in any bills
you have in regards to injuries from the bug infestation if you wish to
go through your medical payments coverage. As far as the items in
your vehicle. those would not be reimbursable through your
comprehensive or medical payment coverage

lf you have any questions. comments or concems. please contact me

at the number listed below.
Sincerely,

Wil|iam Lehnert li
832-772~0486

Any person who knowingly, and with intent to defraud any insurance
company or other person, tiles a statement of claim containing any
materially false infonnation. or conceals for the purpose of
misleading. information concerning any fact material thereto, commits
a fraudulent insurance act. which is a crimo, and may also be subject

to a civil penalty.

' ooNam¢piyrnrhi¢an-ii

induction mulledin racponuwlhi:mouagawi| not become putnfywrclairn lle; whmi your inquirinw cor
GElCO Gen¢d bowman Eam-ny l \hiling want One GElCO Plaz\1 Mhsh'li¢on. DtCt 20076

Actions

v Apply

https://us-mg$.mail .yahoo.com/neo/b/message?sMid=SOS&Hd=Sent&sort=date&order=d. .. 12/24/2015

TRUDY SAWYER - Sent - Yahoo Mail

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 38 of 5

Conta cts

Ilibox (24683)
Dral!$ (75)
Sent

SPNI\ 1559

Trash

My Folders

Sponsored
§ \\
~,' '
§ ,E,. ,*`*.»,"
'~ ».l A
The Flngctnl Wcrd

10 Worst Mstekes Peopte
Make Atter Retiremem

https ://us-mgS .mail .yahoo. com/neo/b/message? sMid=SZO&Hd=Sent&sort=date&order=d. ..

thepad

Pa§e l of l

:::lTrudy Accountlnfo v l:_\ Sign Out Home

Calendar
Actions v Apply
American... Hiloon Hl'lonon"' Card
Sponsored Earn 40,000 Hilton HHonors'“
TRUD¥ SAWYER

From: "sawyertann@yahoo.com"<sawyertann@yahoo.com>

To: jswoish@geioo.com jswoish@geico.com

This where the bugs bit me on my face See the dark spot Call me.

Sent from my Boost Mobile Phone.

Actions v Apply

12/24/2015

Trudy Sawyer - Sent - Yahoo Mail _ _ Pa§e l of l
Case 4:15-cV-03737 Document 1-1 Fl|ed in TXSD on 12/28/15 Page 39 of 5

Co.'ita cts Note_oad

lnbox 124633)
Dratts (75)
Sent

Spam 45681

Trash

My Folders

Sponsorod

se

NPA 6700 Fllshll¢\_t
Americons Buylng This
Flesh|i¢it By The Thousands

{:]Trudy Accountlnfo v :] Sign Out Home

Actions v Apply

Calendar

ASPCA 60¢ a bay can Save lees
Sponsored Make a tax-deductible gift to

Trudy Sawyer
From: "sawyertann@yahoo.com"<sawyertann@yahoo.com>

Tn: jswoish@geico_com

l was bit on both sides of my face | will be going to clinic this Monday. | have
not been able to reach you. l am sending you other emails of pictures
Sent from my Boost Mobile Phone.

 

 

Actions v Apply

https ://us-mg$.mail .yahoo. com/neo/b/message? sMid=S l9&t`1d=Sent&sort=date&0rder=d. .. 12/24/2015

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 40 of 55

To: Geico lnsurance

Mr. Leonard

From: Trudy Sawyer

Re: Claim from Car: 0403804370101030
Fax: 214-4425164

Dear Mr. Leonard;

Please give me another adjuster. A|so, leremy said | had a five
hundred dollar deductible for the caring of my car and possessions; he
told me to contact your company once l go beyond five hundred.

Since March 14, 2015; l have washed every day because there were
bugs in my clothes for being in the car.

March 14th 20.00 Washing/3.00 soap powder/$l0.00
gas=$33.00

March 15th 15.00 washing/Z.OO soap powder/$l0.00 gas=
$27.00

March 16th 10.00 washing/200 soap powder/$l0.00
gas=$22.00

March 17th-March 20th Same figures=$66.00

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 41 of 55

March 21st 15.00 washing/B.OO soap powder/$l0.00
gas=$28.00

March 22-23rd Same figures $54.00

Plastic bags Plastic Bags, Shampoo/conditioner/A|cohol/

Hea|ing Ointment $76.00
Hotel on Friday, March 21st. 101.00

Pest Spray x 2, Bug Sprayx 2, Bed bug foggers 12 cans/Ortho Spray x
2=$16, $15, $40, $15.00.=$86.00

March 24th-March 26th washing $11, $15, $12=$38.00
Plastic bags, soap powder, gas=$21.00

March 27, 28-29, 2015: Washing $24.00, bags, soap, laundry supplies,
$10.00: Bug spray $53.00 plus gas $30.00=$94.00

March 30, 2015: washing: $15.00, fabric softner, 1.00, gas,
$10.00=$26.00

 

Total spent $696.00 l really need my car detailed after all of the pest
spray where can l take it?

A|so, | went to the emergency room because the bugs had bit around
the back of my neck leaving scars and my voice was hoarse; my hair
broke off because of washing it 3 to 5 times a day; the bugs had gotten
in my hair. l tried to go to the clinic but the city clinics gave me the
runarounds.

Case 4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 42 of 55

l will be done cleaning because l am moving everything out of house
and l am cleaning the car, Tuesday, March 31, 2015.

Please reimburse me for money spent; l have been off of work taking
care of this problem. l got a storage for $110.00 to move everything
into it so that l can clean the car and house together.

My address is 2426 East Main Street, K-12, Murfreesboro, TN 37127.
314-333-9196. Thank you.

Trudy Sawyer

‘400001420733678724032006030‘

Case`;4:15-cV-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 43 of 55

Government Employees insurance Company
GElCO General insurance Company

GElCO indemnity Company

GElCO Casua|ty Company

GElCO insurance Agency, inc.

 

GElCO
PRlvAcY NoricE

 

GElCO Respects Your Privacy

Protecting your privacy is very important to us. Policyholders like you have trusted us with their insurance needs since
1936, and we take our obligation to safeguard and secure your personal information very serious|y. We want you to
understand how we protect your privacy and when we collect and use your information.

 

The information We Collect

Non-public personally identifiable information ("lnforma-
tion") is information that identifies you and is not avail-
able to the general public. The following sections tell
you more about how and when we collect your informa-
tion.

information We Obtain From You

During the quoting, application, or claims handling
processes you may give us information such as your:

name

address

phone number

email address

Social Security number
drivers license number
- date of birth

|f you gave us your email address GElCO may use it from
time to time to notify you of such things as new services

- special offers or to confirm transactions You can log in

to your account at geico.com, click on "Update Email
Preferences" on the right side of the screen and choose
the level of communication you'd like to receive from us.
if you have not yet enrolled online, you will need to en-
roll with geico.com to update your email preferences

information About Your Transactions

We may collect information about your transactions and
experiences with us and others such as your payment
history, claims coverage, and vehicles changes

information From Third Parties

We may receive information about you from consumer re-
porting agencies which provide us with motor vehicle
reports claim reports and/or credit information where
permitted by |aw. When you ask for a rate quotation, we
may obtain credit information if permitted by applicable
state iaw.

Our sales and service representatives do not have access
to the details of your credit infonnation. Other compa-
nies who view your credit report will not see the GElCO
inquiry. it will be visible only to you. Our inquiry will

not affect your credit score or credit rating. if you com-
mit to purchase a policy with GElCO, we will also con-
firm your motor vehicle record and claims history

M-56 (05-11) Paget of 2

Polle No.'. 4207-33-67-87

As permitted by law, we may also review your motor ve-
hicle record and credit information in connection with
any renewal.

The information We Disciose

information about our customers or former customers
will only be disclosed as permitted or required by law.
information about you that has been collected is main-
tained in your policy and/or claims records.

We use this information to process and service your poli-
cy; to settle ciaims; with your consent; or as directed by
you. We may also disclose it to persons or organizations
as necessary to perform transactions you request or au-
thorize. information about our former customers and
about individuals who have obtained quotes from us is
safeguarded to the same extent as information about our
current policyholders

Foliowing are some examples of how we may disclose |n~
formation:

We must exchange information about you with our
agents investigators appraisers attorneys and other
persons who are or will become involved in process-
ing your application and servicing your policy or any
claims you may make.

When you are involved in a claim, policy information
is provided to adjusters and the businesses that will
repair your vehic|e.

We may share information with persons or organiza-
tions that we have determined need the information to
perform a business professionai, or insurance func-
tion for us. These include businesses that help us
with administrative functions if the law in your state
permits we may share information with financial in-
stitutions with which we have a joint~marketing
agreement All of these entities are obligated to keep
the information that we provide to them confidential
and to use the information only for the purpose for
which the information was provided.

Renewai Policy Page 17 of 24

2049172585 000&35 000009/000012 00(397/006290

Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 44 of 55

Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 45 of 55

JS 44 Reverse (Rev. 12/12)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(¢)

Il.

IlI.

IV.

VI.

Vll.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "def`endant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (l) .lurisdiction based on 28 U.S,C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. l33 l, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. in cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box l or 2 should be marked.

Diversity of citizenship (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section ill below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. if the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Ofiice to determine the nature of suit. If the cause fits more than
one nature of suit, select the most definitive

Origin. Place an "X" in one of the six boxes

Original Proceedings. (l) Cases which originate in the United States district courts

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section l44l.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action, Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or
multidistrict litigation transfers

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority ofTitle 28 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.l’.
Demand. ln this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary inj unction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases

Date and Attorney Signature. Date and sign the civil cover sheet.

Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 46 of 55

GEICD Automobiie Policy Amendment

Missouri
Policy Number: 4207-33~67~87

your policy is amended as follows:

SECT|ON V - GENERAL CONDlTlDNS
These Conditions Apply To All Coverages in This Policy

Condition 10 RENEWAL, pan (a) under the first paragraph is revised as follows:

(a) You (or your spouse) are at least 50 years old and you (or your spouse) are a principal operator of an auto
insured under this poilcy. There are no principal or occasional operators under the age of 25.

We affirm this amendment.

imm C‘W“‘%

W. C. E. Roblnson O. M. Nicely
Secretary President
§
§
§ A54M0Pr ¢0&13) Policy Number: 4207-33-67-87 R¢n¢wai Policy Pag¢ 19 or 24

 

Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 47 of 55

GElCoM Automobiie Policy Amendment

GElCO GENERAL lNSURANCE COMPANY

Policy Number: 4207-33-67-87

Your policy is amended as foilows:

SECT|ON V - GENERAL COND|T|ONS
The condition for POL|CY PER|OD is revised as follows;

Unless othen~ise cancelled, this policy will expire as shown in the declarations But, it may be continued by our offert
renew and your acceptance by payment of the required renewal premium prior to the expiration date. Each period wii
begin and expire as stated in the declarations

We affirm this amendment.

v

%M€LL/.

W. C. E. Robinson Wil|iam E_ Roberts
Secretary President

A54EDt (03-14) Renewal Policy Page 20 of 24

°400001 420733678724032006029'

Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 48 of 55

GEI¢.'.:C).V

GElCO GENERAL iNSURANCE COMPANY
Telephone: 1-800-841-3000
Website: geico.com

Notice of Policy Change

Your Automobiie Policy has been revised. These changes can be found in the enclosed policy documents Please keep

in mind you only have the coverages which are listed on your declarations page for which a premium or $0.00 is shown.
The information below summarizes the changes in your poiicy.

The definitions of Personal vehicle sharing program, Ride-sharing and Transportation network company have
been added to SECTlON l - LlABlL|TY COVERAGES_

Personal vehicle sharing program means a business organization, network or group facilitating the sharing of private
passenger motor vehicles for use by individuals or businesses

Ride-sharing means the use of any vehicle by any insured in connection with a transportation network company
from the time an insured logs on to or signs in to any computer or digital application or platform that connects or
matches driver(s) with passenger(s) until the time an insured logs out of or signs off of any such application or platform,
including while en route to pick up passenger(s) and while transporting passenger(s).

Transportation network company means a company or organization facilitating and/or providing transportation
services using a computer or digital application or platform to connect or match passengers with drivers for
compensation or a fee.

Personal vehicle sharing program and Ride-sharing activities are excluded under SECT|ON l - LlABlL|TY
COVERAGES, SECTlON li - AUTO MEDlCAL PAYMENTS COVERAGE, SECTiON lll - PHYSlCAL DAMAGE
COVERAGES, and SECT|ON lV - UNiNSURED MOTOR|STS COVERAGE.

Please read your Automobiie Policy and related Amendments for the specific terms and conditions regarding the
changes to your policy.

Thank you for renewing with us We look forward to serving you for many years to come.

M7OORS4 (05-14) Polle Numbell 4207-33-67-87 Renewal Policy Page 15 of 24

20‘9172685 000435 000008/000012 001396/006280

j ,**____i_
Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 49 of 55

GElCD.~ Automobiie Policy Amendment

GElCO GENERAL iNSURANCE COMPANY Missouri
Policy Number: 4207-33-67-87

your policy is amended as follows:

SECTiON l-LiABlLlTY COVERAGES

DEFlNlTlONS

The following definitions are revised;

3. Farm auto means a truck type vehicle with a gross vehicle weight of 15,000 pounds or less not used for commercial
purposes other than farming.

11. Utility auto means a vehicie, other than a farm auto, with a gross vehicle weight of 15,000 pounds or less and is of
a pick-up body, van, or panel truck type not used for commercial purposes

The following definitions are added:

12. Personal vehicle sharing program means a business organization, network or group facilitating the sharing of
private passenger motor vehicles for use by individuals or businesses

13. Ride-sharing means the use of any vehicle by any insured in connection with a transportation network company
from the time an insured logs on to or signs in to any computer or digital application or platform that connects or
matches driver(s) with passenger(s) until the time an insured logs out of or signs off of any such application or
platform, including while en route to pick up passenger(s) and while transporting passenger(s).

14. Transportation network company means a company or organization facilitating and/or providing transportation
services using a computer or digital application or platform to connect or match passengers with drivers for
compensation or a fee,

ADDlT|ONAL PAYMENTS WE WiLL MAKE UNDER THE LlABlL|TY COVERAGES

item 3. is revised as foilows:

3. interest calculated on that pari of a judgment that is within our limit of liability and accruing:

(a) Before the judgment, where owed by iaw, and until we pay, offer to pay, or deposit in court the amount due under
this coverage;
(b) After the judgment, and until we pay, offer to pay, or deposit in court, the amount due under this coverage.

After item 5. the items 1., 2., and 3. are renumbered as follows;

(a) Costs incurred by any insured for first aid to others at the time of an accident involving an owned auto or
non-owned auto .

(b) Loss of earnings up to $50 a day, but not other income, if we request an insured to attend hearings and trials

(c) All reasonable costs incurred by an insured at our request.

EXCLUSlONS

' When Section l Does Not Apply

The paragraph is added:

Section l does not apply to any claim or suit for damage if one or more of the exclusions listed below applies:

item 2. is revised as follows:

2. There is no coverage in excess of the minimum financial responsibility limits required by Missouri law for bodily
injury or property damage arising out of the ownership, maintenance, or use of an owned auto or non-owned auto:
(a) used to carry persons or property for compensation or a fee, including but not limited to delivery of food or any

other producis.; or
(b) while being used for ride-sharing.
However, a vehicle used in an ordinary car pool is covered_

item 17. is revised as foilows:

17. We do not cover bodily injury or property damage caused by an auto driven in or preparing for any racing, speed,
or demolition contest or stunting activity of any nature, whether or not prearranged or organized.

The following exclusion is added:

19. There is no coverage under this Section in excess of the minimum financial responsibility limits required by Missouri
law for any person or organization while any motor vehicle is operated, maintained or used as part of personal
vehicle sharing facilitated by a personal vehicle sharing program

SECTiON ll-AUTO MEDlCAL PAYMENTS

EXCLUS|ONS

item 1. is revised as foilows:

1. There is no coverage for bodily injury sustained by any occupant of an owned auto:

(a) used to carry persons or property for compensation or a fee, including but not limited to delivery of food or any
other products or

(b) while being used for ride-sharing.

However, a vehicle used in an ordinary car pool is covered.

20&9172685 000435 000011/000012 004399/0¢|6230

 

A54MO (05-14) Page 1 of 3 Renewal Policy Page 21 of 24

‘400001420733678724032006032'

Fw: 0403804370101030 Trudy sawyer - Sent - Yah_oo Mail Paoge l of l
Case 4:15-cv-0373 Document 1-1 Filed in TXSD on 12/28/15 Page 50 of 5

::]Trudy Accountlnio v l:l Sign Out Home

Contacts Notepad Caiendar
Actions v Apply =` i ‘
l"b°X (14“1) w j Clti Eam Cash Back. Repeat_
' Sponsored Earn cash back twice with Citi g
brass (15) ~
FWZ 04°380437°101°3° Trudy ‘ w
S t ` '
en sawyer i
Spam (561) if / 1 ' From: "Trudy Sawyer" <sawyertann@yahoo.com>
Trash ` ' f z To: Cristin.Badolato@insurance.mo.gov ,»¢~ -"

.iiit4 ij’fl,;;'l ; .,,i',

iii iii;~i. ii

On Thu, 4/2/15. minne@itatme.sa.m <§menann@y_ahmam> wrofer

> From: §Mertann@yahoo.com <sa ertann ahoo.eom>
> Subject: 0403804370101030 Trudy sawyer

> To: jswoish@ggioo.oom

E! EZHE . > Date; Thursday, April 2, 2015. 1133 PM

insane mw sur Fi.sh»gni > _ _ _ .
Selling out F\sii > Please call me. l have done everything regarding this claim.
> 3143339196

> Sent from my Boost Mobile Phone.

 

Actions v Apply

https://us-mg$ .mail .yahoo.com/neo/b/message?sI\/Iid=473&fid=Sent&sort=date&order=d. .. 12/24/201 5

Trudy Sawyer/Claim Number 0403804370101030 -_Sent_ - Yahoo Mail Pa e l of l
Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 51 of 5

[:lTrudy Accountlnfo v [:l Sign Out Home

C_tcntacts Notepad Calendai
Actions v Apply
, .
l"b°X (24“3l al BENGAYQ Long ll\temet breaks won’t h...
am Sponsored We can’t stop your

omits usi
S Trudy Sawyer/Claim Number

l

°" 0403804310101030
593'"(557) " From: l'frudy Sawyer"<sawyertann@yahoo.com>
Trash ' ' l To: jswoish@geico.com
2014 infiniti 050 1991 Chevrolet

Fol
w dug 4 Fiies 5 MB » Premium Caprice Classic
S -nsored

    

salazar $2’995

» . Attached is a copy of medical bills owed to St Thomas and a $30.00 for Hope
sh with u P rtui .
Ex:i: Di.,;°n:‘g::g me Ciinic l paid out of pocket Please send this to Mr. Lehnert, l don‘t have his

email address in addition, more bills that were accumulated from the
exterrnination of car.

2014 Mercedes-

Benz G_c|ass 663 2014 |nfiniti 070 3.7

$27,000

Actions v Apply

https://us-mg$ . mail .yahoo. com/neo/b/rnessage?sMi d=488&fid=Sent&sort=date& order=d. .. 12/24/2015

Case 4:15-cv-03737

224

i i

ti

 

Document 1-1 Filed in TXSD on 12/28/15 Page 52 of 55

15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 53 of 55

Case 4

seize saw

..~s ,__.o i?.i_ .\.m..o§ when

, _ g
wm .s___e§ss

ariz t

4 .a»i

lw.r,_iw... ».~.a,.._m §§ ,Z.

 

 

 

 

 

 

 

 

,-

 

scene …..

 

 

Case 4:15-cv-03737 Document 1-1 Filed in TXSD on 12/28/15 Page 55 of 55

 

 

 

